                   Case 13-06304-JMC-7                                 Doc 1             Filed 06/13/13                     EOD 06/13/13 11:04:42                          Pg 1 of 63
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                          Southern District of Indiana                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Ellett, Herbert Dean III                                                                                     Ellett, Tona Marie


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
                                                                                                               FKA Tona Marie Vandivier; FKA Tona Marie Smith



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-6363                                                                                                  xxx-xx-5221
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  3124 Asbury Street                                                                                          3124 Asbury Street
  Indianapolis, IN                                                                                            Indianapolis, IN
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         46237                                                                                         46237
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Marion                                                                                                       Marion
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
              Case 13-06304-JMC-7                       Doc 1         Filed 06/13/13             EOD 06/13/13 11:04:42                            Pg 2 of 63
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Ellett, Herbert Dean III
(This page must be completed and filed in every case)                                  Ellett, Tona Marie
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Indiana Southern                                       01-01719                              2/13/01
Location                                                                             Case Number:                                   Date Filed:
Where Filed: See Attachment
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X /s/ John T. Steinkamp                                        June 12, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             John T. Steinkamp 19891-49

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Ellett, Herbert Dean III
(This page must be completed and filed in every case)                                       Ellett, Tona Marie
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                           Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/ Herbert Dean Ellett, III                                                                Signature of Foreign Representative
     Signature of Debtor Herbert Dean Ellett, III

 X /s/ Tona Marie Ellett                                                                       Printed Name of Foreign Representative
     Signature of Joint Debtor Tona Marie Ellett
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 12, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ John T. Steinkamp                                                                       chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      John T. Steinkamp 19891-49                                                               debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Office of John T. Steinkamp
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      5218 South East St
      Suite E-1                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Indianapolis, IN 46227                                                                   an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                         Email: steinkamplaw@yahoo.com
      317-780-8300 Fax: 317-217-1320
     Telephone Number
     June 12, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
           Case 13-06304-JMC-7            Doc 1   Filed 06/13/13     EOD 06/13/13 11:04:42           Pg 4 of 63



In re      Herbert Dean Ellett, III,                                           Case No.
           Tona Marie Ellett
                                                                          ,
                                                           Debtors
                                         FORM 1. VOLUNTARY PETITION
                                       Prior Bankruptcy Cases Filed Attachment

        Location Where Filed                                Case Number                   Date Filed
        Indiana Southern                                    90-04098                      08/24/90
        Indiana Southern                                    86-04217                      07/18/86
                Case 13-06304-JMC-7                        Doc 1         Filed 06/13/13      EOD 06/13/13 11:04:42            Pg 5 of 63
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
 In re          Herbert Dean Ellett, III,                                                                  Case No.
                Tona Marie Ellett
                                                                                                    ,
                                                                                   Debtors                 Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             3                    7,370.00


C - Property Claimed as Exempt                            Yes             2


D - Creditors Holding Secured Claims                      Yes             1                                                0.00


E - Creditors Holding Unsecured                           Yes             2                                            1,135.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             12                                         142,113.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                       3,182.63
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       3,172.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                27


                                                                    Total Assets               7,370.00


                                                                                     Total Liabilities               143,248.00




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
 In re           Herbert Dean Ellett, III,                                                                           Case No.
                 Tona Marie Ellett
                                                                                                          ,
                                                                                       Debtors                       Chapter               7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                              1,135.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                               104,613.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                    105,748.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        3,182.63

             Average Expenses (from Schedule J, Line 18)                                                      3,172.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         4,294.38


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                         0.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                              1,135.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                           142,113.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       142,113.00




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B6A (Official Form 6A) (12/07)


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 In re         Herbert Dean Ellett, III,                                                                       Case No.
               Tona Marie Ellett
                                                                                                      ,
                                                                                     Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                           Nature of Debtor's          Wife,     Debtor's Interest in           Amount of
               Description and Location of Property                        Interest in Property        Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption




                      None




                                                                                                      Sub-Total >               0.00          (Total of this page)

                                                                                                           Total >              0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Herbert Dean Ellett, III,                                                                          Case No.
               Tona Marie Ellett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

1.    Cash on hand                                        Cash on Hand                                                       J                            20.00
                                                          Location: 3124 Asbury Street, Indianapolis IN 46237

2.    Checking, savings or other financial                Checking Account                                                   J                              5.00
      accounts, certificates of deposit, or               Key Bank
      shares in banks, savings and loan,
      thrift, building and loan, and                      Checking Account                                                   W                              1.00
      homestead associations, or credit                   Chase Bank
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household Items, Furniture                                         J                        1,000.00
      including audio, video, and                         Location: 3124 Asbury Street, Indianapolis IN 46237
      computer equipment.

5.    Books, pictures and other art                       CD's, DVD's                                                        J                           300.00
      objects, antiques, stamp, coin,                     Location: 3124 Asbury Street, Indianapolis IN 46237
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                           J                           200.00
                                                          Location: 3124 Asbury Street, Indianapolis IN 46237

7.    Furs and jewelry.                                   Jewelry                                                            J                           300.00
                                                          Location: 3124 Asbury Street, Indianapolis IN 46237

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term Policy through Employer                                       W                              0.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.



                                                                                                                             Sub-Total >            1,826.00
                                                                                                                 (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Herbert Dean Ellett, III,                                                                          Case No.
               Tona Marie Ellett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Pending FDCPA claim against GLA                                    W                        1,000.00
    claims of every nature, including
    tax refunds, counterclaims of the                     Potential Social Security/Disability                               H                      Unknown
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                             Sub-Total >            1,000.00
                                                                                                                 (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Herbert Dean Ellett, III,                                                                          Case No.
               Tona Marie Ellett
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       CDL License                                                         H                             0.00
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2007 Pontiac Vibe, Mileage: 107,000                                 J                       3,594.00
    other vehicles and accessories.                       Vehicle Jointly owned - Co-Debtor & Father
                                                          Location: 3124 Asbury Street, Indianapolis IN 46237

                                                          1989 Pontiac Sunfire, Mileage: 175,000                              H                          750.00
                                                          Location: 3124 Asbury Street, Indianapolis IN 46237

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    Desktop Computer, Printer                                           J                          200.00
    supplies.                                             Location: 3124 Asbury Street, Indianapolis IN 46237

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              1 Dog, 1 Cat                                                        J                             0.00
                                                          Location: 3124 Asbury Street, Indianapolis IN 46237

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.


                                                                                                                             Sub-Total >            4,544.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >           7,370.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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  In re         Herbert Dean Ellett, III,                                                                              Case No.
                Tona Marie Ellett
                                                                                                           ,
                                                                                        Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Cash on Hand
Cash on Hand                                                              Ind. Code § 34-55-10-2(c)(3)                                   20.00                            20.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking Account                                  Ind. Code § 34-55-10-2(c)(3)                                                             5.00                             5.00
Key Bank

Checking Account                                                          Ind. Code § 34-55-10-2(c)(3)                                     1.00                             1.00
Chase Bank

Household Goods and Furnishings
Household Items, Furniture                                                Ind. Code § 34-55-10-2(c)(2)                               1,000.00                         1,000.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Books, Pictures and Other Art Objects; Collectibles
CD's, DVD's                                         Ind. Code § 34-55-10-2(c)(2)                                                       300.00                           300.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Wearing Apparel
Clothing                                                                  Ind. Code § 34-55-10-2(c)(2)                                 200.00                           200.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Furs and Jewelry
Jewelry                                                                   Ind. Code § 34-55-10-2(c)(2)                                 300.00                           300.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Interests in Insurance Policies
Term Policy through Employer                                              Ind. Code § 27-1-12-17.1(f)                                      0.00                             0.00

Other Contingent and Unliquidated Claims of Every Nature
Pending FDCPA claim against GLA                   Ind. Code § 34-55-10-2(c)(3)                                                         340.00                         1,000.00

Potential Social Security/Disability                                      42 U.S.C. § 407                                          Unknown                          Unknown

Licenses, Franchises, and Other General Intangibles
CDL License                                        Ind. Code § 34-55-10-2(c)(3)                                                            0.00                             0.00

Automobiles, Trucks, Trailers, and Other Vehicles
2007 Pontiac Vibe, Mileage: 107,000                                       Ind. Code § 34-55-10-2(c)(2)                               3,594.00                         7,188.00
Vehicle Jointly owned - Co-Debtor & Father
Location: 3124 Asbury Street, Indianapolis IN
46237




    1     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/13) -- Cont.




  In re         Herbert Dean Ellett, III,                                                                    Case No.
                Tona Marie Ellett
                                                                                                         ,
                                                                                        Debtors
                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                               (Continuation Sheet)

                                                                                Specify Law Providing            Value of            Current Value of
                  Description of Property                                          Each Exemption                Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

1989 Pontiac Sunfire, Mileage: 175,000                                    Ind. Code § 34-55-10-2(c)(2)                   750.00                   750.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Office Equipment, Furnishings and Supplies
Desktop Computer, Printer                                                 Ind. Code § 34-55-10-2(c)(2)                   200.00                   200.00
Location: 3124 Asbury Street, Indianapolis IN
46237

Animals
1 Dog, 1 Cat                                                              Ind. Code § 34-55-10-2(c)(2)                      0.00                     0.00
Location: 3124 Asbury Street, Indianapolis IN
46237




                                                                                                  Total:                6,710.00              10,964.00
 Sheet     1    of     1    continuation sheets attached to the Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re        Herbert Dean Ellett, III,                                                                                  Case No.
               Tona Marie Ellett
                                                                                                            ,
                                                                                            Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                       C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                           O                                                              O    N   I
                                                       D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                          E                                                              T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                         B   W               NATURE OF LIEN, AND                        I    Q   U                             PORTION, IF
                                                       T   J              DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                           O                                                              G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                           C                   OF PROPERTY
                                                       R
                                                                              SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No.                                                                                                                E
                                                                                                                           D




                                                               Value $
Account No.




                                                               Value $
Account No.




                                                               Value $
Account No.




                                                               Value $
                                                                                                                   Subtotal
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_____ continuation sheets attached
                                                                                                         (Total of this page)
                                                                                                                    Total                        0.00                      0.00
                                                                                          (Report on Summary of Schedules)

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 In re         Herbert Dean Ellett, III,                                                                                          Case No.
               Tona Marie Ellett
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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 B6E (Official Form 6E) (4/13) - Cont.




  In re         Herbert Dean Ellett, III,                                                                                 Case No.
                Tona Marie Ellett
                                                                                                             ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                      Taxes and Certain Other Debts
                                                                                                                       Owed to Governmental Units
                                                                                                                                   TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                        C    U   D
            CREDITOR'S NAME,                            O                                                             O    N   I                      AMOUNT NOT
                                                        D                                                             N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                         T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                       I    Q   U
                                                                                                                                      OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                         N    U   T                                AMOUNT
                                                        O                                                             G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                         E    D   D
                                                                                                                      N    A
                                                                                                                                                                PRIORITY
                                                                                                                      T    T
Account No. xx2000                                              2010                                                       E
                                                                                                                           D

Internal Revenue Service                                        Tax Debt
PO BOX 7346                                                                                                                                           0.00
Philadelphia, PA 19101
                                                            J

                                                                                                                                          1,135.00              1,135.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                              Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                   (Total of this page)            1,135.00              1,135.00
                                                                                                                     Total                            0.00
                                                                                           (Report on Summary of Schedules)               1,135.00              1,135.00

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 B6F (Official Form 6F) (12/07)


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  In re         Herbert Dean Ellett, III,                                                                                Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxx7653                                                        1/13                                                          T   T
                                                                                                                                                E
                                                                              Collection Account - Directv                                      D

AFNI
P.O. Box 3097                                                             H
Bloomington, IL 61702

                                                                                                                                                                         513.00
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Collection Accounts - St. Francis Medical
American Financial Credit                                                     Group
10333 N. Meridian Street, Suite 270A                                      W
Indianapolis, IN 46290

                                                                                                                                                                         148.00
Account No. Unknown                                                           2013
                                                                              Former Lease & Other Expenses
Beech Tree Glen Apartments                                                    (Debtors dispute this debt)
226 Grovewood Place                                                       J
Beech Grove, IN 46107

                                                                                                                                                                      Unknown
Account No. Unknown                                                           2007
                                                                              Credit Card / Credit Use
Capital One
Account Inquiries                                                         J
PO Box 30281
Salt Lake City, UT 84130
                                                                                                                                                                      Unknown

                                                                                                                                        Subtotal
 11 continuation sheets attached
_____                                                                                                                                                                    661.00
                                                                                                                              (Total of this page)




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  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Unknown                                                           Bank Fees                                                 E
                                                                                                                                        D

Chase Bank
120 E. Market Street                                                      J
Indianapolis, IN 46204

                                                                                                                                                           Unknown
Account No. Unknown                                                           Unknown
                                                                              Credit Card / Credit Use
Citicards CBNA
P.O. Box 6241                                                             J
Sioux Falls, SD 57117-6241

                                                                                                                                                           Unknown
Account No. Unknown                                                           2008
                                                                              Utility Bill
Comcast Cable
P.O. Box 3006                                                             J
Southeastern, PA 19398-3006

                                                                                                                                                           Unknown
Account No. x0437                                                             2013
                                                                              Medical Debt
Community Breast Care
8040 Clearvista Parkway                                                   W
Suite 290
Indianapolis, IN 46256
                                                                                                                                                                43.00
Account No. xxxxx-xxxx-xx-0084                                                2013
                                                                              Judgement - Collection Account w/Atty. Derek
Community Health Network                                                      F. Johnson
PO Box 20830                                                              H
Indianapolis, IN 46220

                                                                                                                                                              862.00

           1
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              905.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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               Case 13-06304-JMC-7                         Doc 1           Filed 06/13/13                 EOD 06/13/13 11:04:42         Pg 18 of 63
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Multiple Accounts                                                 2013                                                      E
                                                                              Judgement - Atty. Derek F. Johnson                        D

Community Health Network
PO Box 20830                                                              W
Indianapolis, IN 46220

                                                                                                                                                           Unknown
Account No. Unknown                                                           2012
                                                                              Medical Debt
Community Home Health Services,
LLC                                                                       J
9864 E 121st Street
Fishers, IN 46037-4154
                                                                                                                                                           Unknown
Account No. Unknown                                                           2009
                                                                              Lease Termination Fees
Community Place Apartments
1201 Community Place                                                      J
Indianapolis, IN 46227

                                                                                                                                                           Unknown
Account No.                                                                   Notice Purpose Only

Crane Federal Credit Union
300 Highway 361                                                           J
Crane, IN 47522

                                                                                                                                                                  0.00
Account No. xxxxxx1748                                                        6/12
                                                                              Collection Account - Comcast Cable
Credit Protection Association, L.P.
13355 Noel Rd., Ste. 2100                                                 H
Dallas, TX 75240

                                                                                                                                                              251.00

           2
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              251.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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               Case 13-06304-JMC-7                         Doc 1           Filed 06/13/13                 EOD 06/13/13 11:04:42         Pg 19 of 63
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Multiple Accounts                                                 Multiple Service Dates                                    E
                                                                              Collection Accounts - Southside Emergency                 D

DECA Financial Services                                                       Associates
12175 Visionary Way                                                       W
Fishers, IN 46038

                                                                                                                                                              904.00
Account No. xxxxx-xxxx-xx-0085                                                2009
                                                                              Collection Acct./Judgement - Community
Derek F. Johnson, Atty                                                        Health Network
Attn: Notices                                                             W
PO Box 5010
Zionsville, IN 46077
                                                                                                                                                            5,516.00
Account No. Unknown                                                           Unknown
                                                                              Credit Card / Credit Use
Discover
P.O. Box 6103                                                             J
Carol Stream, IL 60197-6103

                                                                                                                                                           Unknown
Account No. Unknown                                                           2009
                                                                              Cable Bill
Dish TV Network
Department 0063                                                           J
Palatine, IL 60055-0063

                                                                                                                                                           Unknown
Account No. Unknown                                                           2011
                                                                              Medical Debt
Dr. Kenten D. Woolhiser
8920 Southpointe Drive                                                    J
Indianapolis, IN 46227

                                                                                                                                                           Unknown

           3
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            6,420.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Multiple Accounts                                                 Multiple Service Dates                                    E
                                                                              Medical Debt                                              D

Dr. Mark Runkle
1250 E. County Road Ste. 6                                                J
Indianapolis, IN 46227

                                                                                                                                                           Unknown
Account No. Unknown                                                           Unknown
                                                                              Deficient Balance on Motorcycle
Dreyer Honda
4152 W. Washington                                                        J
Indianapolis, IN 46241

                                                                                                                                                           Unknown
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Collection Accounts - Thomas J. Eads MD
Eagle Account Group, Inc.
7510 S. Madison Avenue                                                    W
Indianapolis, IN 46227

                                                                                                                                                                60.00
Account No.                                                                   Notice Purpose Only

Equifax
PO Box 740241                                                             J
Atlanta, GA 30374

                                                                                                                                                                  0.00
Account No.                                                                   Notice Purpose Only

Experian
701 Experian Parkway                                                      J
Allen, TX 75013

                                                                                                                                                                  0.00

           4
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                60.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Unknown                                                           Unknown                                                   E
                                                                              Credit Card / Credit Use                                  D

First Premier Bank
601 S. Minnesota Avenue                                                   J
Sioux Falls, SD 57104

                                                                                                                                                           Unknown
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Medical Debt
Franciscan Aliance
P.O. Box 660383                                                           W
Indianapolis, IN 46266-0383

                                                                                                                                                            4,882.00
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Medical Debt
Franciscan Aliance
P.O. Box 660383                                                           H
Indianapolis, IN 46266-0383

                                                                                                                                                           Unknown
Account No. xxxxxx0001                                                        2/07
                                                                              Collection Account - Southside Dental
General Credit Services
PO Box 749                                                                W
Carmel, IN 46082

                                                                                                                                                              301.00
Account No. Multiple Accounts                                               Multiple Servcie Dates
                                                                            Collection Accounts - Indiana Internal
GLA                                                                         Medicine, Premier Surgical, Community Home
PO Box 991199                                                             W Health, Indpls, Gastroenterology
Louisville, KY 40269

                                                                                                                                                            1,137.00

           5
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            6,320.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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               Case 13-06304-JMC-7                         Doc 1           Filed 06/13/13                 EOD 06/13/13 11:04:42         Pg 22 of 63
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxxx2873                                                 6/10                                                      E
                                                                              Collection Account - Premier Surgical                     D

GLA Collection
2630 Gleeson Lane                                                         H
Louisville, KY 40299

                                                                                                                                                              350.00
Account No.                                                                   Notice Purpose Only

Honda Financial Services
P.O. Box 105027                                                           J
Atlanta, GA 30348-5027

                                                                                                                                                                  0.00
Account No. xxxxxxx8001                                                       1/13
                                                                              Collection Account - AT&T, AT& T Midwest
IC System, Inc.
P.O. Box 64378                                                            W
Saint Paul, MN 55164

                                                                                                                                                              176.00
Account No. Multiple Accounts                                               Multiple Service Dates
                                                                            Collection Account - Kendrick Regional
IMC Credit Services                                                         Health, Southside Emergency Associates, E.R.
P.O. Box 20636                                                            W Physicians, Southeast Anesthesia Assoc.
Indianapolis, IN 46220                                                      Urology of IN, PMB/Er Phys. of Indpls.


                                                                                                                                                            2,964.00
Account No. Unknown                                                           Benefit Overpayment

Indiana Workforce Department
10 N. Senate Avenue #3                                                    H
Indianapolis, IN 46204

                                                                                                                                                           Unknown

           6
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            3,490.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Unknown                                                           2012                                                      E
                                                                              Medical Debt                                              D

Indianapolis Psychiatric Associates
8820 Meridian Street                                                      W
Suite 200
Indianapolis, IN 46217
                                                                                                                                                           Unknown
Account No. 5446                                                              2012
                                                                              Medical Debt
Institute of Comprehensive Pain Mgmt
PO Box 6069                                                               W
Indianapolis, IN 46206

                                                                                                                                                              134.00
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Medical Debt
IU Health
1701 N. Senate                                                            W
Indianapolis, IN 46202

                                                                                                                                                              117.00
Account No.                                                                   Notice Purpose Only

Jacob, Hammerle & Johnson, LLC
P.O. Box 20468                                                            J
Indianapolis, IN 46205

                                                                                                                                                                  0.00
Account No. Multiple Accounts                                               Multiple Service Dates
                                                                            Collection Accounts - Community Health
Med Shield                                                                  Network, Indiana Surgery Center South, Ortho
2424 E. 55th Street                                                       H Indy
Indianapolis, IN 46220

                                                                                                                                                              596.00

           7
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              847.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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               Case 13-06304-JMC-7                         Doc 1           Filed 06/13/13                 EOD 06/13/13 11:04:42         Pg 24 of 63
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Multiple Accounts                                               Multiple Service Dates                                      E
                                                                            Collection Account - Community Health                       D

Med Shield                                                                  Network, Indiana Surgery Center South, Jacob,
2424 E. 55th Street                                                       W Hammerle & Johnson
Indianapolis, IN 46220

                                                                                                                                                          10,833.00
Account No. xxxxxx6492                                                        2013
                                                                              Medical Debt
Mid America Pathology Services
3755 E. 82nd Street                                                       W
Suite 75A
Indianapolis, IN 46240
                                                                                                                                                                19.00
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Collection Accounts - St. Francis/Franciscan
MiraMed Revenue Group                                                         Health
Attn: Dept. 77304                                                         H
PO Box 77000
Detroit, MI 48277-0304
                                                                                                                                                           Unknown
Account No. Multiple Accounts                                                 Multiple Service Dates
                                                                              Collection Accounts - St. Francis/Franciscan
MiraMed Revenue Group                                                         Health
Attn: Dept. 77304                                                         W
PO Box 77000
Detroit, MI 48277-0304
                                                                                                                                                            3,746.00
Account No. Unknown                                                           2008
                                                                              Lease Termination Fees
Oak Tree Apartments
9012 Pinehurst Dr. N                                                      J
Indianapolis, IN 46235

                                                                                                                                                           Unknown

           8
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          14,598.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                     B                                                              I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. Unknown                                                           Unknown                                                   E
                                                                              Credit Card / Credit Use                                  D

Orchard Bank
HSBC Card Services                                                        J
PO Box 5222
Carol Stream, IL 60197
                                                                                                                                                           Unknown
Account No. Nultiple Accounts                                                 Multiple Service Dates
                                                                              Medical Debt
Ortho Indy
PO Box 6284                                                               W
Indianapolis, IN 46206-6284

                                                                                                                                                           Unknown
Account No. xxxxxxxx2229                                                      11/07
                                                                              Collection Account - HSBC
Portfolio Recovery
120 Corporate Blvd.                                                       W
Norfolk, VA 23502

                                                                                                                                                              747.00
Account No. xxxx2542                                                          2013
                                                                              School Fees
Purdue University
Schleman Hall                                                             W
4756 Stadium Mall Drive
West Lafayette, IN 47907
                                                                                                                                                            1,283.00
Account No. xxx4333                                                           1998
                                                                              Collection Account - Genesis-Revolution
RFGI                                                                          Fitness/Ladies Only/My Oasis
PO Box 537                                                                W
Sycamore, IL 60178

                                                                                                                                                              909.00

           9
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            2,939.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                            Case No.
                Tona Marie Ellett
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U   D
                  CREDITOR'S NAME,                                   O                                                              O   N   I
                  MAILING ADDRESS                                    D    H                                                         N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                   T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                 (See instructions above.)                           R                                                              E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xx1245                                                            2013                                                      E
                                                                              Medical Debt                                              D

South Emerson Surgery Center
8141 S. Emerson Ave Suite C                                               J
Indianapolis, IN 46237-8561

                                                                                                                                                              899.00
Account No.                                                                   Notice Purpose Only

Springleaf f/k/a AGF
600 N. Royal Avenue                                                       J
P.O. Box 3251
Evansville, IN 47715-2612
                                                                                                                                                                  0.00
Account No. xxxxx-xxxxx-2008                                                  2008
                                                                              Collection Account - Beech Grove High School
Statewide Credit
6640 Intech Blvd, Suite 200                                               H
Indianapolis, IN 46278

                                                                                                                                                              110.00
Account No.                                                                   Notice Purpose Only

Trans Union
PO Box 1000                                                               J
Crum Lynne, PA 19022

                                                                                                                                                                  0.00
Account No. Multiple Accounts                                                 Multiple Dates
                                                                              Student Loans
US Dept of Ed - Direct Loans
PO Box 5609                                                               W
Greenville, TX 75403

                                                                                                                                                        104,613.00

           10 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                        105,622.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Herbert Dean Ellett, III,                                                                                Case No.
                Tona Marie Ellett
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. Unknown                                                           2008                                                           E
                                                                              Cell Phone Bill                                                D

Verizon Wireless
1 Verizon Pl                                                              J
Alpharetta, GA 30004

                                                                                                                                                                Unknown
Account No.




Account No.




Account No.




Account No.




           11 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                       0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              142,113.00


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B6G (Official Form 6G) (12/07)


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 In re             Herbert Dean Ellett, III,                                                                   Case No.
                   Tona Marie Ellett
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Alpine Property Management                                          Residential Lease
                    1127 Shelby Street
                    Indianapolis, IN 46202




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Herbert Dean Ellett, III,                                                               Case No.
                Tona Marie Ellett
                                                                                                ,
                                                                                  Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
          Herbert Dean Ellett, III
 In re    Tona Marie Ellett                                                                             Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                              Grandchild                                                    2
                                           Stepdaughter                                                  22
Employment:                                           DEBTOR                                                   SPOUSE
Occupation                          Locksmith                                                Health Guide
Name of Employer                    Ashley Safe & Security                                   Walgreens
How long employed                   9 Months                                                 1.5 Years
Address of Employer                 14060 Britton Park Road                                  1808 N. Albany
                                    Fishers, IN 46038                                        Beech Grove, IN 46107
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                      SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $      2,187.25            $       2,107.13
2. Estimate monthly overtime                                                                           $          0.00            $           0.00

3. SUBTOTAL                                                                                              $         2,187.25       $        2,107.13


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             432.98     $          329.42
     b. Insurance                                                                                        $               0.00     $          242.69
     c. Union dues                                                                                       $               0.00     $            0.00
     d. Other (Specify)        See Detailed Income Attachment                                            $               0.00     $          106.66

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             432.98     $          678.77

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,754.27       $        1,428.36

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $             0.00
8. Income from real property                                                                             $               0.00     $             0.00
9. Interest and dividends                                                                                $               0.00     $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $               0.00     $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,754.27       $        1,428.36

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            3,182.63
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Stepdaughter is employed; however, she does not contribute toward the household expenses--she pays for her own
         expenses and her child's expenses.
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B6I (Official Form 6I) (12/07)

          Herbert Dean Ellett, III
 In re    Tona Marie Ellett                                                    Case No.
                                                      Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                          Detailed Income Attachment
Other Payroll Deductions:
Vision Insurance                                                              $           0.00   $           8.10
Dental Insurance                                                              $           0.00   $          22.65
Accident Insurance                                                            $           0.00   $           1.71
Life Insurance                                                                $           0.00   $          20.50
Flex Health                                                                   $           0.00   $          53.70
Total Other Payroll Deductions                                                $           0.00   $         106.66
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B6J (Official Form 6J) (12/07)
          Herbert Dean Ellett, III
 In re    Tona Marie Ellett                                                                   Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                  725.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  225.00
                   b. Water and sewer                                                                        $                    0.00
                   c. Telephone                                                                              $                    0.00
                   d. Other cell phone                                                                       $                  200.00
3. Home maintenance (repairs and upkeep)                                                                     $                   40.00
4. Food                                                                                                      $                  950.00
5. Clothing                                                                                                  $                   65.00
6. Laundry and dry cleaning                                                                                  $                   30.00
7. Medical and dental expenses                                                                               $                  100.00
8. Transportation (not including car payments)                                                               $                  450.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   90.00
10. Charitable contributions                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                    0.00
                   b. Life                                                                                   $                    0.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                   40.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other Studen Loan                                                                      $                   22.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other See Detailed Expense Attachment                                                                    $                  235.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                3,172.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                3,182.63
b. Average monthly expenses from Line 18 above                                                               $                3,172.00
c. Monthly net income (a. minus b.)                                                                          $                   10.63
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B6J (Official Form 6J) (12/07)
          Herbert Dean Ellett, III
 In re    Tona Marie Ellett                                                     Case No.
                                                          Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment




Other Expenditures:
Personal Grooming/Haircuts                                                                 $              90.00
License Plates                                                                             $              13.00
Vehicle Maintenance/Repairs                                                                $              50.00
Tax Preparation                                                                            $               2.00
Petcare                                                                                    $              50.00
Gym Membership                                                                             $              30.00
Total Other Expenditures                                                                   $             235.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
            Herbert Dean Ellett, III
 In re      Tona Marie Ellett                                                                                 Case No.
                                                                                   Debtor(s)                  Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           29
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 12, 2013                                                    Signature   /s/ Herbert Dean Ellett, III
                                                                                   Herbert Dean Ellett, III
                                                                                   Debtor


 Date June 12, 2013                                                    Signature   /s/ Tona Marie Ellett
                                                                                   Tona Marie Ellett
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
             Herbert Dean Ellett, III
 In re       Tona Marie Ellett                                                                                 Case No.
                                                                                Debtor(s)                      Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                               DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $7,063.00                         2013 - Y.T.D. Income - Herbert
                          $4,956.00                         2012 - Income - Herbert -Ashley Safe & Security(Approx.)
                          $0.00                             2011 - Income - Herbert
                          $10,652.00                        2013 - Y.T.D. Income - Tona - Walgreens(as of 3/29/13)
                          $25,589.00                        2012 - Income - Tona - Walgreens
                          $5,420.00                         2011 - Income - Tona




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             2. Income other than from employment or operation of business

   None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
             during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
             each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE
                        $1,730.00                           2012 - Herbert - Unemployment Compensation
                        $24,139.00                          2011 - Herbert - Unemployment Compensation

             3. Payments to creditors

   None      Complete a. or b., as appropriate, and c.

             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
             services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
             aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
             payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
             a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
             include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
             not filed.)

NAME AND ADDRESS                                                         DATES OF                                                     AMOUNT STILL
    OF CREDITOR                                                          PAYMENTS                           AMOUNT PAID                 OWING
Alpine Property Management                                               Monthly Rent                         $1,450.00                   $0.00
1127 Shelby Street
Indianapolis, IN 46202

   None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
             immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
             transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
             account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
             budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
             transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                                                                                 AMOUNT
                                                                         DATES OF                                 PAID OR
                                                                         PAYMENTS/                              VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                             TRANSFERS                OWING

   None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
             creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                    AMOUNT PAID                 OWING

             4. Suits and administrative proceedings, executions, garnishments and attachments

   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
             this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                   DISPOSITION
49K02-1301-SC-0084                                                     Debt Collection   Decatur Township Small Claims                  Judgment
Community Health Network vs. Herbert Ellett III


  * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                   DISPOSITION
49K02-1301-SC-0085                                                     Debt Collection   Decatur Township Small Claims                  Judgment
Community Health Network vs. Tona Ellett
Tona Ellett vs. GLA Collection Co., Inc., Case:                        Civil lawsuit     Southern District of Indiana,                  Pending
1:13-cv-853-SEB-DKL                                                    under the Fair    Indianapolis Division
                                                                       Debt Collection
                                                                       Practices Act

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF           DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                   PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                      DATE OF GIFT           VALUE OF GIFT
Goodwill                                                  n/a                                  Annually              In-Kind Donations




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             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                   DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                                  THAN DEBTOR                                   OF PROPERTY
Debt Education & Certifcation Foundation                                5/31/13                                     $40.00/Credit Counseling
112 Goliad Street, Suite D                                                                                          Class
Fort Worth, TX 76126
John T. Steinkamp                                                       5/13                                        $1150.00/Attorney Fees
John Steinkamp & Associates
5218 S. East Street Suite E-1
Indianapolis, IN 46227

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)            IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                  AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING
Fifth Third Bank                                                        Checking Account                             Closed 2012, Final Balance
Customer Service                                                                                                     $0.00
38 Fountain Square Plaza
Cincinnati, OH 45263




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             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                         DESCRIPTION                DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                         OF CONTENTS                 SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                 NAME USED                                     DATES OF OCCUPANCY
317 Grovewood Apt. C, Beech Grove IN 46107                              Herbert Dean Ellett, III                      8/02 - 4/13
                                                                        Tona Marie Ellett

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

             "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
             operated by the debtor, including, but not limited to, disposal sites.

             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
             pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:


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                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

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NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                    ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY



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             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date June 12, 2013                                                     Signature   /s/ Herbert Dean Ellett, III
                                                                                   Herbert Dean Ellett, III
                                                                                   Debtor


Date June 12, 2013                                                     Signature   /s/ Tona Marie Ellett
                                                                                   Tona Marie Ellett
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
            Herbert Dean Ellett, III
 In re      Tona Marie Ellett                                                                                 Case No.
                                                                                   Debtor(s)                  Chapter    7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                        Lease will be Assumed pursuant to 11
 -NONE-                                                                                                    U.S.C. § 365(p)(2):
                                                                                                              YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 12, 2013                                                    Signature   /s/ Herbert Dean Ellett, III
                                                                                   Herbert Dean Ellett, III
                                                                                   Debtor


 Date June 12, 2013                                                    Signature   /s/ Tona Marie Ellett
                                                                                   Tona Marie Ellett
                                                                                   Joint Debtor




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                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
             Herbert Dean Ellett, III
 In re       Tona Marie Ellett                                                                                Case No.
                                                                                Debtor(s)                     Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,150.00
             Prior to the filing of this statement I have received                                        $                     1,150.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       June 12, 2013                                                      /s/ John T. Steinkamp
                                                                                John T. Steinkamp 19891-49
                                                                                Law Office of John T. Steinkamp
                                                                                5218 South East St
                                                                                Suite E-1
                                                                                Indianapolis, IN 46227
                                                                                317-780-8300 Fax: 317-217-1320
                                                                                steinkamplaw@yahoo.com




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B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF INDIANA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
           Herbert Dean Ellett, III
 In re     Tona Marie Ellett                                                                                Case No.
                                                                                 Debtor(s)                  Chapter       7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Herbert Dean Ellett, III
Tona Marie Ellett                                                                  X /s/ Herbert Dean Ellett, III              June 12, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                       Date

Case No. (if known)                                                                X /s/ Tona Marie Ellett                     June 12, 2013
                                                                                     Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
           Herbert Dean Ellett, III
 In re     Tona Marie Ellett                                                                              Case No.
                                                                                   Debtor(s)              Chapter    7




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: June 12, 2013                                                    /s/ Herbert Dean Ellett, III
                                                                       Herbert Dean Ellett, III
                                                                       Signature of Debtor

Date: June 12, 2013                                                    /s/ Tona Marie Ellett
                                                                       Tona Marie Ellett
                                                                       Signature of Debtor




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                          AFNI
                          P.O. BOX 3097
                          BLOOMINGTON, IL 61702




                          ALPINE PROPERTY MANAGEMENT
                          1127 SHELBY STREET
                          INDIANAPOLIS, IN 46202




                          AMERICAN FINANCIAL CREDIT
                          10333 N. MERIDIAN STREET, SUITE 270A
                          INDIANAPOLIS, IN 46290




                          AT & T
                          ATTN. KAREN CAVAGNARO
                          ONE AT&T WAY, OFFICE 3A231
                          BEDMINSTER, NJ 07921




                          BEECH GROVE HIGH SCHOOL
                          5330 HORNET AVE.
                          BEECH GROVE, IN 46107




                          BEECH TREE GLEN APARTMENTS
                          226 GROVEWOOD PLACE
                          BEECH GROVE, IN 46107




                          CAPITAL ONE
                          ACCOUNT INQUIRIES
                          PO BOX 30281
                          SALT LAKE CITY, UT 84130
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                      CHASE BANK
                      120 E. MARKET STREET
                      INDIANAPOLIS, IN 46204




                      CITICARDS CBNA
                      P.O. BOX 6241
                      SIOUX FALLS, SD 57117-6241




                      COMCAST CABLE
                      P.O. BOX 3006
                      SOUTHEASTERN, PA 19398-3006




                      COMCAST CABLE
                      C/O CREDIT PROTECTION ASSOC.
                      P.O. BOX 9037
                      ADDISON, TX 75001-9037




                      COMCAST CABLE
                      P.O. BOX 3006
                      SOUTHEASTERN, PA 19398-3006




                      COMMUNITY BREAST CARE
                      8040 CLEARVISTA PARKWAY
                      SUITE 290
                      INDIANAPOLIS, IN 46256




                      COMMUNITY HEALTH NETWORK
                      PO BOX 20830
                      INDIANAPOLIS, IN 46220
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                      COMMUNITY HEALTH NETWORK
                      PO BOX 20830
                      INDIANAPOLIS, IN 46220




                      COMMUNITY HEALTH NETWORK
                      PO BOX 20830
                      INDIANAPOLIS, IN 46220




                      COMMUNITY HEALTH NETWORK
                      PO BOX 19202
                      INDIANAPOLIS, IN 46219




                      COMMUNITY HEALTH NETWORK
                      PO BOX 20830
                      INDIANAPOLIS, IN 46220




                      COMMUNITY HEALTH NETWORK
                      PO BOX 19202
                      INDIANAPOLIS, IN 46219




                      COMMUNITY HEALTH NETWORK
                      PO BOX 20830
                      INDIANAPOLIS, IN 46220




                      COMMUNITY HEALTH NETWORK
                      PO BOX 19202
                      INDIANAPOLIS, IN 46219
Case 13-06304-JMC-7    Doc 1   Filed 06/13/13   EOD 06/13/13 11:04:42   Pg 52 of 63




                      COMMUNITY HEALTH NETWORK, INC.
                      ATTN: BANKRUPTCY DEPT.
                      1500 RITTER AVE,
                      INDIANAPOLIS, IN 46219




                      COMMUNITY HOME HEALTH SERVICES, LLC
                      9864 E 121ST STREET
                      FISHERS, IN 46037-4154




                      COMMUNITY HOME HEALTH SERVICES, LLC
                      9864 E 121ST STREET
                      FISHERS, IN 46037-4154




                      COMMUNITY PLACE APARTMENTS
                      1201 COMMUNITY PLACE
                      INDIANAPOLIS, IN 46227




                      CRANE FEDERAL CREDIT UNION
                      300 HIGHWAY 361
                      CRANE, IN 47522




                      CREDIT PROTECTION ASSOCIATION, L.P.
                      13355 NOEL RD., STE. 2100
                      DALLAS, TX 75240




                      DECA FINANCIAL SERVICES
                      12175 VISIONARY WAY
                      FISHERS, IN 46038
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                      DEREK F. JOHNSON, ATTY
                      ATTN: NOTICES
                      PO BOX 5010
                      ZIONSVILLE, IN 46077




                      DEREK F. JOHNSON, ATTY
                      ATTN: NOTICES
                      PO BOX 5010
                      ZIONSVILLE, IN 46077




                      DEREK F. JOHNSON, ATTY
                      ATTN: NOTICES
                      PO BOX 5010
                      ZIONSVILLE, IN 46077




                      DIRECTTV
                      P.O. BOX 6550
                      ENGLEWOOD, CO 80155-6550




                      DIRECTV, INC.
                      2230 E. IMPERIAL HIGHWAY 36
                      EL SEGUNDO, CA 90245




                      DISCOVER
                      P.O. BOX 6103
                      CAROL STREAM, IL 60197-6103




                      DISH TV NETWORK
                      DEPARTMENT 0063
                      PALATINE, IL 60055-0063
Case 13-06304-JMC-7    Doc 1   Filed 06/13/13   EOD 06/13/13 11:04:42   Pg 54 of 63




                      DR. KENTEN D. WOOLHISER
                      8920 SOUTHPOINTE DRIVE
                      INDIANAPOLIS, IN 46227




                      DR. MARK RUNKLE
                      1250 E. COUNTY ROAD STE. 6
                      INDIANAPOLIS, IN 46227




                      DREYER HONDA
                      4152 W. WASHINGTON
                      INDIANAPOLIS, IN 46241




                      EAGLE ACCOUNT GROUP, INC.
                      7510 S. MADISON AVENUE
                      INDIANAPOLIS, IN 46227




                      EQUIFAX
                      PO BOX 740241
                      ATLANTA, GA 30374




                      ER PHYSICIANS OF INDIANAPOLIS, P.C.
                      ATTN: COMPLIANCE
                      3600 WOODVIEW TRACE, 4TH FLOOR
                      INDIANAPOLIS, IN 46268




                      EXPERIAN
                      701 EXPERIAN PARKWAY
                      ALLEN, TX 75013
Case 13-06304-JMC-7    Doc 1   Filed 06/13/13   EOD 06/13/13 11:04:42   Pg 55 of 63




                      FIRST PREMIER BANK
                      601 S. MINNESOTA AVENUE
                      SIOUX FALLS, SD 57104




                      FRANCISCAN ALIANCE
                      P.O. BOX 660383
                      INDIANAPOLIS, IN 46266-0383




                      FRANCISCAN ALIANCE
                      P.O. BOX 660383
                      INDIANAPOLIS, IN 46266-0383




                      FRANCISCAN ALIANCE
                      P.O. BOX 660383
                      INDIANAPOLIS, IN 46266-0383




                      FRANCISCAN ALIANCE
                      P.O. BOX 660383
                      INDIANAPOLIS, IN 46266-0383




                      GENERAL CREDIT SERVICES
                      PO BOX 749
                      CARMEL, IN 46082




                      GLA
                      PO BOX 991199
                      LOUISVILLE, KY 40269
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                      GLA COLLECTION
                      2630 GLEESON LANE
                      LOUISVILLE, KY 40299




                      HONDA FINANCIAL SERVICES
                      P.O. BOX 105027
                      ATLANTA, GA 30348-5027




                      HSBC
                      ATTN: BANKRUPTCY DEPT.
                      P.O. BOX 5253
                      CAROL STREAM, IL 60197




                      HSBC
                      ATTN: BANKRUPTCY DEPT.
                      P.O. BOX 5253
                      CAROL STREAM, IL 60197




                      IC SYSTEM, INC.
                      P.O. BOX 64378
                      SAINT PAUL, MN 55164




                      IMC CREDIT SERVICES
                      P.O. BOX 20636
                      INDIANAPOLIS, IN 46220




                      INDIANA INTERNAL MEDICINE
                      701 E COUNTY LINE RD., STE 101
                      GREENWOOD, IN 46143
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                      INDIANA SURGERY CENTER SOUTH
                      SOUTH CAMPUS SURGERY CENTER, LLC
                      1550 E. COUNTY LINE ROAD
                      INDIANAPOLIS, IN 46227




                      INDIANA SURGERY CENTER SOUTH
                      SOUTH CAMPUS SURGERY CENTER, LLC
                      1550 E. COUNTY LINE ROAD
                      INDIANAPOLIS, IN 46227




                      INDIANA WORKFORCE DEPARTMENT
                      10 N. SENATE AVENUE #3
                      INDIANAPOLIS, IN 46204




                      INDIANAPOLIS PSYCHIATRIC ASSOCIATES
                      8820 MERIDIAN STREET
                      SUITE 200
                      INDIANAPOLIS, IN 46217




                      INDIANAPOLIS GASTROENTEROLOGY
                      8051 S. EMERSON AVENUE
                      SUITE 200
                      INDIANAPOLIS, IN 46237




                      INSTITUTE OF COMPREHENSIVE PAIN MGMT
                      PO BOX 6069
                      INDIANAPOLIS, IN 46206




                      INTERNAL REVENUE SERVICE
                      PO BOX 7346
                      PHILADELPHIA, PA 19101
Case 13-06304-JMC-7    Doc 1   Filed 06/13/13   EOD 06/13/13 11:04:42   Pg 58 of 63




                      IU HEALTH
                      1701 N. SENATE
                      INDIANAPOLIS, IN 46202




                      JACOB, HAMMERLE & JOHNSON, LLC
                      P.O. BOX 20468
                      INDIANAPOLIS, IN 46205




                      JACOB, HAMMERLE & JOHNSON, LLC
                      P.O. BOX 20468
                      INDIANAPOLIS, IN 46205




                      KENDRICK REGIONAL CENTER
                      1215 HADLEY ROAD STE 201
                      MOORESVILLE, IN 46158




                      MED SHIELD
                      2424 E. 55TH STREET
                      INDIANAPOLIS, IN 46220




                      MED SHIELD
                      2424 E. 55TH STREET
                      INDIANAPOLIS, IN 46220




                      MID AMERICA PATHOLOGY SERVICES
                      3755 E. 82ND STREET
                      SUITE 75A
                      INDIANAPOLIS, IN 46240
Case 13-06304-JMC-7    Doc 1   Filed 06/13/13   EOD 06/13/13 11:04:42   Pg 59 of 63




                      MIRAMED REVENUE GROUP
                      ATTN: DEPT. 77304
                      PO BOX 77000
                      DETROIT, MI 48277-0304




                      MIRAMED REVENUE GROUP
                      ATTN: DEPT. 77304
                      PO BOX 77000
                      DETROIT, MI 48277-0304




                      MY OASIS FITNESS
                      8435 S. SHELBY STRRET
                      INDIANAPOLIS, IN 46227




                      OAK TREE APARTMENTS
                      9012 PINEHURST DR. N
                      INDIANAPOLIS, IN 46235




                      ORCHARD BANK
                      HSBC CARD SERVICES
                      PO BOX 5222
                      CAROL STREAM, IL 60197




                      ORTHO INDY
                      PO BOX 6284
                      INDIANAPOLIS, IN 46206-6284




                      ORTHO INDY
                      PO BOX 6284
                      INDIANAPOLIS, IN 46206-6284
Case 13-06304-JMC-7    Doc 1   Filed 06/13/13   EOD 06/13/13 11:04:42   Pg 60 of 63




                      PMB/EMERGENCY PHYS. OF INDIANAPOLIS
                      7619 WEST JEFFERSON BLVD
                      FORT WAYNE, IN 46804




                      PORTFOLIO RECOVERY
                      120 CORPORATE BLVD.
                      NORFOLK, VA 23502




                      PREMIER SURGICAL
                      701 EAST COUNTY LINE RD., STE 201
                      GREENWOOD, IN 46143




                      PREMIER SURGICAL
                      701 EAST COUNTY LINE RD., STE 201
                      GREENWOOD, IN 46143




                      PURDUE UNIVERSITY
                      SCHLEMAN HALL
                      4756 STADIUM MALL DRIVE
                      WEST LAFAYETTE, IN 47907




                      RFGI
                      PO BOX 537
                      SYCAMORE, IL 60178




                      SOUTH EMERSON SURGERY CENTER
                      8141 S. EMERSON AVE SUITE C
                      INDIANAPOLIS, IN 46237-8561
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                      SOUTH EMERSON SURGERY CENTER
                      1515 W. DRAGOON TRAIL
                      MISHAWAKA, IN 46544




                      SOUTHEAST ANESTHESIOLOGISTS, INC
                      PO BOX 6069 DEPT. 107
                      INDIANAPOLIS, IN 46206-6069




                      SOUTHSIDE DENTAL
                      7719 STONEY SIDE LANE
                      INDIANAPOLIS, IN 46259




                      SOUTHSIDE EMERGENCY ASSOCIATES
                      7100 RELIABLE PKWY
                      CHICAGO, IL 60686




                      SOUTHSIDE EMERGENCY ASSOCIATES
                      1402 E. COUNTY LINE RD. S
                      INDIANAPOLIS, IN 46227




                      SOUTHSIDE EMERGENCY ASSOCIATES
                      1402 E. COUNTY LINE RD. S
                      INDIANAPOLIS, IN 46227




                      SOUTHSIDE EMERGENCY ASSOCIATES
                      7100 RELIABLE PKWY
                      CHICAGO, IL 60686
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                      SPRINGLEAF F/K/A AGF
                      600 N. ROYAL AVENUE
                      P.O. BOX 3251
                      EVANSVILLE, IN 47715-2612




                      ST. FRANCIS MEDICAL GROUP
                      PO BOX 664056
                      INDIANAPOLIS, IN 46266




                      ST. FRANCIS MEDICAL GROUP
                      5224 S. EAST STREET #3
                      INDIANAPOLIS, IN 46227




                      STATEWIDE CREDIT
                      6640 INTECH BLVD, SUITE 200
                      INDIANAPOLIS, IN 46278




                      THOMAS J. EADS, MD
                      53 S. PARK BLVD
                      GREENWOOD, IN 46143




                      TRANS UNION
                      PO BOX 1000
                      CRUM LYNNE, PA 19022




                      UROLOGY OF INDIANA
                      PO BOX 6069, DEPT. 14
                      INDIANAPOLIS, IN 46206-6069
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                      US DEPT OF ED - DIRECT LOANS
                      PO BOX 5609
                      GREENVILLE, TX 75403




                      VERIZON WIRELESS
                      1 VERIZON PL
                      ALPHARETTA, GA 30004
